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   14
   15   Attorneys for Defendant,
        BMW OF NORTH AMERICA, LLC
   16
   17                        UNITED STATES DISTRICT COURT
   18
                           CENTRAL DISTRICT OF CALIFORNIA
   19
   20   LORENA GODINEZ,                             Case No.: 2:17-cv-5072-ODW-RAO
   21                Plaintiff,
   22                                               JOINT EXHIBIT LIST
              vs.
   23
        BMW OF NORTH AMERICA, LLC, a
   24   Delaware Limited Liability Company,
   25   and DOES 1 through 10, inclusive,
   26                Defendants.
   27
   28


                                       JOINT EXHIBIT LIST
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    1         Plaintiff LORENA GODINEZ and Defendant BMW OF NORTH
    2   AMERICA, LLC, by and through counsel, hereby submit the following exhibit list
    3   for the trial in the above-entitled action. The parties reserve the right to introduce
    4   exhibits designated and/or listed and/or offered by any party to this action, and
    5   hereby reserve the right to object to the admissibility of any exhibits designated,
    6   listed, and/or offered by any other party to this action. The parties further reserve the
    7   right to introduce exhibits for the purpose of impeachment, rebuttal, or rehabilitation
    8   and reserves the right to introduce additional exhibits upon appropriate notice to all
    9   parties. The Parties further hereby reserve the right to introduce additional exhibits
   10   as necessary, including, but not limited to any and all exhibits marked and attached
   11   to the depositions of any fact or expert witness taken in this action. The Parties
   12   further reserve the right to augment this Exhibit List following the conferencing with
   13   one another's counsel that is required pursuant to local rules.
   14
   15                                 PLAINTIFF’S EXHIBITS
   16     Exhibit                                                        Date           Date
                                      Description
   17      No.                                                         Identified     Admitted
   18               Retail Installment Sale Contract dated
             1.
   19               12/31/09
   20               McKenna BMW Repair Order No. 162832
   21        2.     dated 12/18/09
                    (GODINEZ000220-223)
   22
   23               McKenna BMW Repair Order No. 162949
             3.     dated 12/21/09
   24
                    (GODINEZ000070-76)
   25
                    McKenna BMW Repair Order No. 178380
   26               dated 10/11/10
   27        4.
                    (GODINEZ000224-33)
   28               (Lorena Godinez vs. BMWNA 30)


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    1    Exhibit                                               Date         Date
                                 Description
    2     No.                                                Identified   Admitted
    3              McKenna BMW Repair Order No. 184358
    4              dated 1/24/11
            5.
    5              (GODINEZ000234-44)
    6              (Lorena Godinez vs. BMWNA 28-29)
    7              McKenna BMW Repair Order No. 195979
                   dated 9/9/11
    8       6.
                   (GODINEZ000245-56)
    9
                   (Lorena Godinez vs. BMWNA 26-27)
   10
                   McKenna BMW Repair Order No. 202850
   11              dated 1/16/12
   12       7.     (GODINEZ000126-30)
   13              (GODINEZ000257-70)
   14              (Lorena Godinez vs. BMWNA 24-25)
   15              McKenna BMW Repair Order No. 212135
   16              dated 7/9/12
   17       8.     (GODINEZ000131-36)
                   (GODINEZ000272-83)
   18
                   (Lorena Godinez vs. BMWNA 22-23)
   19
                   McKenna BMW Repair Order No. 218120
   20
                   dated 10/31/12
   21              (GODINEZ000137-52)
            9.
   22              (GODINEZ000284-308)
   23              (Lorena Godinez vs. BMWNA 18-21)
   24              McKenna BMW Repair Order No. 221071
   25              dated 12/31/12
   26       10.    (GODINEZ000153-56)
   27              (GODINEZ000309-319)
   28              (Lorena Godinez vs. BMWNA 17)


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                                    JOINT EXHIBIT LIST
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    1    Exhibit                                               Date         Date
                                 Description
    2     No.                                                Identified   Admitted
    3              McKenna BMW Repair Order No. 223125
    4              dated 2/11/13
    5       11.    (GODINEZ000157-162)
    6              (GODINEZ000320-32)
    7              (Lorena Godinez vs. BMWNA 15-16)

    8              McKenna BMW Repair Order No. 224484
                   dated 3/11/13
    9
            12.    (GODINEZ000163-66)
   10
                   (GODINEZ000333-44)
   11              (Lorena Godinez vs. BMWNA 14)
   12
                   McKenna BMW Repair Order No. 232745
   13              dated 8/8/13
   14       13.    (GODINEZ000167-77)
   15              (GODINEZ000345-62)
   16              (Lorena Godinez vs. BMWNA 11-13)
   17              McKenna BMW Repair Order No. 233213
                   dated 8/17/13
   18
                   (GODINEZ000178-84)
   19       14.
                   (GODINEZ000363-69)
   20
                   (GODINEZ000370-82)
   21
                   (Lorena Godinez vs. BMWNA 9-10)
   22
                   McKenna BMW Repair Order No. 239846
   23              dated 12/27/13
   24       15.    (GODINEZ000185-94)
   25              (GODINEZ000383-401)
   26              (Lorena Godinez vs. BMWNA 6-8)
   27
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    1    Exhibit                                               Date         Date
                                 Description
    2     No.                                                Identified   Admitted
    3              McKenna BMW Repair Order No. 240249
    4              dated 1/4/14
            16.
    5              (GODINEZ000195-96)
    6              (GODINEZ000402-12)
    7              New Century BMW Repair Order No.
                   915264 dated 11/26/14
    8       17.
                   (GODINEZ000197-200)
    9
                   (GODINEZ000417-28)
   10
                   New Century BMW Repair Order No.
   11              944017 dated 10/24/15
   12       18.    (GODINEZ000429-33)
   13              (GODINEZ000435)
   14              (GODINEZ000437-57)
   15              New Century BMW Repair Order No.
   16              973019 dated 9/26/16
   17              (GODINEZ000210-12)
            19.
                   (GODINEZ000459-62)
   18
                   (GODINEZ000471-501)
   19
                   (Lorena Godinez vs. BMWNA 32-37)
   20
                   New Century BMW Repair Order No.
   21              979975 dated 12/9/16
   22       20.
                   (GODINEZ000503-06)
   23              (GODINEZ000509-58)
   24              New Century BMW Repair Order No.
   25       21.    1002966 dated 8/30/17
   26              (Lorena Godinez vs. BMWNA 39-40)
   27              New Century BMW Repair Order No.
            22.    1033915 dated 8/28/18
   28
                   (Lorena Godinez vs. BMWNA 50-52)

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    1    Exhibit                                                 Date         Date
                                   Description
    2     No.                                                  Identified   Admitted
    3              New Century BMW Repair Order No.
    4       23.    1039168 dated 10/29/18
    5              (Lorena Godinez vs. BMWNA 63-65)
    6              New Century BMW Repair Order No.
            24.    1041238 dated 11/24/18
    7
                   (Lorena Godinez vs. BMWNA 66-68)
    8
                   New Century BMW Repair Order No.
    9
            25.    1041240 dated 11/24/18
   10              (Lorena Godinez vs. BMWNA 69-71)
   11
                   New Century BMW Repair Order No.
   12       26.    1044752 dated 1/7/19
   13              (Lorena Godinez vs. BMWNA 72-73)
   14              American Tire Depot Invoice dated 10/8/16
            27.
   15              (Lorena Godinez vs. BMWNA 41)
   16              American Tire Depot Invoice dated
   17       28.    12/22/17
   18              (Lorena Godinez vs. BMWNA 42-43)

   19              American Tire Depot Invoice dated 7/27/18
            29.
   20              (Lorena Godinez vs. BMWNA 53-54)

   21              Purchase Documents
            30.
   22              (GODINEZ000065-69)

   23              DMV Documents
            31.
   24              (Lorena Godinez vs. BMWNA 3-4, 58)

   25              Insurance Documents
            32.
   26              (Lorena Godinez vs. BMWNA 5, 59-62)
   27              Letter from BMW Financial Services to
            33.    Plaintiff dated March 20, 2018
   28
                   (Exhibit 3 Plaintiff’s Depo)

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    1    Exhibit                                                 Date         Date
                                  Description
    2     No.                                                  Identified   Admitted
    3              Email from BMW to Plaintiff RE:
    4              Plaintiff’s Repurchase Request dated
            34.    11/10/16
    5
                   (Lorena Godinez v. BMWNA 56-57)
    6
                   Internal BMW Email RE: Plaintiff’s
    7
            35.    Repurchase Request dated 11/10/16
    8              (GODINEZ000219)
    9
                   Service History Recap through 9/26/16
   10       36.
                   (GODINEZ000119-20)
   11
                   Warranty Vehicle Inquiry dated 11/10/16
   12       37.
                   (GODINEZ000215-18)
   13
                   Warranty Claim Details dated 11/11/16
   14       38.
                   (GODINEZ000121-125)
   15
                   Warranty Vehicle Inquiry dated 4/26/17
   16       39.
                   (GODINEZ000087-118)
   17
                   Warranty Vehicle Inquiry dated 8/6/18
   18       40.
                   (Holguin Expert File)
   19
                   Service Request Detail S01028802381 dated
   20       41.    10/15/10
   21              (GODINEZ000077-78)
   22              Service Request Detail S01219805190 dated
   23       42.    7/16/12
   24              (GODINEZ000079-80)

   25              Service Request Detail 201631205281 dated
            43.    11/23/16
   26
                   (GODINEZ000081-86)
   27
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    1    Exhibit                                                  Date         Date
                                  Description
    2     No.                                                   Identified   Admitted
    3              SI B 63 06 10 – LEDs in Rear Lamp
    4       44.    Inoperative
    5              (GODINEZ000593)
    6              SI B 61 02 13 – Recall Campaign 13v-044:
                   Repair Battery Positive Cable; Attachment
    7       45.    for Repair Battery Positive Cable
    8              (GODINEZ000564-76, 589-92)
    9
                   SI B 61 02 13 – Customer Letter RE: Recall
   10              Campaign 13v-044: Repair Battery Positive
            46.    Cable
   11
   12              (GODINEZ000561-63)

   13              SI B 61 02 13 – Q&A RE: Recall Campaign
            47.    13v-044: Repair Battery Positive Cable
   14
                   (GODINEZ000577-79)
   15
                   SI B 12 18 14 – Engine Misfire Due to
   16              Failed Ignition Coil
            48.
   17              (GODINEZ000586-88)
   18              SI B 01 20 16 – Footwell Module: Limited
   19              Warranty Extension to 8 Years/125,000
                   Miles; Attachment for Footwell Module:
   20       49.    Limited Warranty Extension to 8
   21              Years/125,000 Miles
   22              (GODINEZ000559-60, 580-85)
   23              SI B 11 16 17 – Recall 17V-683: Positive
   24              Crankcase Ventilation (PCV) Valve Heater;
            50.    Repair Procedures for Positive Crankcase
   25              Ventilation (PCV) Valve Heater
   26              (Holguin Expert File)
   27
   28


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    1    Exhibit                                                   Date         Date
                                   Description
    2     No.                                                    Identified   Admitted
    3              SI B 64 07 17 – Recall 17V-676: Blower
    4              Motor Wiring; Repair Procedures for Short
                   Repair Cable; Repair Procedures for Wire
    5       51.    Harness Connector; Repair Procedures for
    6              Harness Checking Procedure
    7              (Holguin Expert File)
    8              Service and Warranty Information Booklet –
    9       52.    2010 1 Series, 3 Series, 5 Series, 6 Series
                   (GODINEZ000001-61)
   10
   11       53.    BBB California Lemon Law Summary
   12              Owner’s Manual for Vehicle – 328i, 328i
            54.
                   xDrive, 335i, 335i xDrive, M3
   13
                   Photographs of Vehicle
   14
            55.    (Lorena Godinez vs. BMWNA 46-49)
   15
                   (Exhibit 4 Plaintiff’s Depo)
   16
                   German Imports Auto Inc. Invoice dated
   17              6/25/18
            56.
   18              (Lorena Godinez vs. BMWNA 55)
   19       57. –
                  Reserved
   20       999.
   21
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                                      JOINT EXHIBIT LIST
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     1                             DEFENDANT’S EXHIBITS
     2    Exhibit                                              Date
                                Description                               Date Admitted
     3     No.                                               Identified
     4    1000.     Vehicle Repair Timelines
     5
          1001.     Complaint dated 4/18/17
     6
     7    1002.     Vehicle Warranty History
     8    1003.     BMW BBB Arbitration
     9              Certification Program
    10
          1004.     Certificate of Certified Status
    11
    12    1005.     BBB California Lemon Law
                    Summary
    13
    14    1006.     Carfax re subject vehicle
    15    1007.     Luis Holguin expert disclosure and
    16              expert report
    17    1008.     Relevant Portions of Service
    18              Manual for BMW 3 Series 2006-
                    2010
    19
    20    1009.     Diagram Re Oil Filter Housing
    21              Gasket and Gasket

    22    1010.     Diagram Re Drive Belt Pulley, Idler
    23              Pulley, and Power Steering Pump
    24    1011.     Diagram Re Coolant System
    25
          1012.     Diagram Re Window Regulator
    26
    27    1013.     Diagram Re Valve Cover and
                    Exemplar Valve Cover Gasket
    28


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                                        JOINT EXHIBIT LIST
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     1    Exhibit                                            Date
                               Description                              Date Admitted
     2     No.                                             Identified
     3    1014.     Diagram Re O2 Sensor
     4
          1015.     Foot Well Module Description
     5
     6    1016.     Exemplar Tail Lamp LED Circuit
                    Board
     7
     8    1017.     Front Brake Caliper Diagram
     9
          1018.     Gas Cap Photograph and Exemplar
    10              Gas Cap
    11
          1019.     SIB 61 02 13 Re Battery Cable
    12
    13    1020.     Ignition Coil Diagram
    14    1021.     Exemplar Valve Cover
    15
          1022.     Customer Contact Log
    16
    17    1023.     Email dated 12/19/16 to Jose Conde
                    re additional vehicle repair with
    18              attached documents
    19
          1024.     Email re Jose Conde’s Response to
    20
                    12/19/16 email
    21
    22    1025.     Reserved

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                                      JOINT EXHIBIT LIST
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     1                                     Respectfully Submitted,
     2   DATED:      April 1, 2019         WIRTZ LAW APC
     3
     4
     5                                     By:   /s/ Amy R. Rotman
                                                 Richard M. Wirtz
     6                                           Amy R. Rotman
     7                                           Attorneys for Plaintiff,
                                                 LORENA GODINEZ
     8
     9
    10   DATED:      April 1, 2019         LEHRMAN LAW GROUP

    11
    12
                                           By:   /s/ Daniel R. Villegas
    13                                           Daniel R. Villegas
    14                                           Attorneys for Defendant,
                                                 BMW OF NORTH AMERICA, LLC
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                                     JOINT EXHIBIT LIST
